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UNITED STATES DISTRICT COURT BLES NECALLY | ma
SOUTHERN DISTRICT OF NEW YORK DOK at
one eee ee eee pare 760 JAN LL CUEl
LCM XXII LTD.; LCM XXII LTD.; LCM XXIV LTD.::
LCM XXV LTD.: LCM 26 LTD.; LCM 27 LTD.:
LCM 28 LTD..

Plaintiffs,
ORDER
-against-

SERTA SIMMONS BEDDING, LLC; ADVENT 20 Civ. 5090 (GBD)

INTERNATIONAL CORPORATION; EATON VANCE:
MANAGEMENT; INVESCO SENIOR SECURED
MANAGEMENT INC.; CREDIT SUISSE ASSET
MANAGEMENT LLC; BOSTON MANAGEMENT
AND RESEARCH; BARINGS LLC,

Defendants.

GEORGE B. DANIELS, United States District Judge:

The oral argument scheduled for January 14, 2021 at 10:30 a.m. shall occur as a
videoconference using the Skype platform.

To optimize the quality of the video feed, only the Court, Plaintiffs’ counsel, and
Defendants’ counsel will appear by video for the proceeding; all others will participate by
telephone. Due to the limited capacity of the Skype system, only one counsel per party may
participate. Co-counsel, members of the press, and the public may access the audio feed of the
conference by calling (917) 933-2166 and entering the code ID 203329145.

To optimize use of the Court’s video conferencing technology, all participants in the call

me 1. Use a browser other than Microsoft Explorer to access Skype for Business;

2. Position the participant’s device as close to the WiFi router as is feasible;
3, Ensure any others in the participant’s household are not using WiFi during the
period of the call;

4, Unless the participant is using a mobile telephone to access Skype for
Business, connect to audio by having the system call the participant;

 

 
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If there is ambient noise, the participant must mute his or her device when not speaking.
Further, all participants must identify themselves every time they speak, spell any proper names
for the court reporter, and take care not to interrupt or speak over one another. Finally, all of those
accessing the conference — whether in listen-only mode or otherwise — are reminded that
recording or rebroadcasting of the proceeding is prohibited by law.

To the extent that there are any documents relevant to the proceeding, counsel should
submit them to the Court (by email or on ECF, as appropriate) at least 24 hours prior to the
proceeding.

Dated: New York, New York

January 11, 2021
SOQORDERED.

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CORGH B. DANIELS
ited‘States District Judge

 

 
